Case 22-10609-amc   Doc 6-9     Filed 03/11/22 Entered 03/11/22 15:22:39   Desc
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                         EXHIBIT “I”
          Case 22-10609-amc               Doc 6-9      Filed 03/11/22 Entered 03/11/22 15:22:39                             Desc
                                                     Exhibit
DocuSign Envelope ID: B4FBB213-A47C-4611-91A7-A8B2D9D89823
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   License Agreement - Office Space
   License agreement (this "Agreement") made on    and between TKO 6 Corp AKA TKO Suites (Licensor), located at 1521 W.
   Concord Pike .Suite 301, Wilmington, DE 19803 and company whose information shall be provided below (Licensee)

   Whereas, Licensor entered into a lease (the "Main Lease") with Brandywine Plaza Cap I (the "Main Landlord") for the entire Suite
   301 (the "Leased Premises") in the building (the "Building") known as and by street address 1521 W. Concord Pike, Wilmington, DE
   19803 and which Licensor maintains absolute control of such premises and;

   Whereas, the parties wish to provide for the granting of a non-exclusive, revocable license by Licensor to Licensee to use a portion of
   the Leased Premises and related services, described in schedule "B", in accordance with this agreement. This Agreement shall
   consists of the main terms described below, the terms and conditions attached hereto, and the Center's Rules. This License is not
   intended to create a lease or any other interest in real property.

   Now, therefore, for good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto




                       scungio Borst & Associates                                   Camden
   Company Name                                                   City:

   Cell Phone:         8567185596                                 State:            N3

                       oborreroOSBACMC.COM                                          08103
   Email:                                                         Zip:


                                6 months                                             April 22, 2019
  Term:                                                               Start Date:    ______________________________
                                $1,200.00                                            October 31, 2019
   Service Deposit:                                                   *End Date:     ______________________________
                                2.5%                                  Escalations Intervals (Months):
   ** Automatic Escalations:
                        Monthly Phone Internet
    Suite #(s):         Fee / Suite Lines: Lines: Additional Suite Notes (if applicable):

                        $1,150.00               $50.00

   Total Monthly Fee:
   Additional Notes (if applicable):
  *(1) Agreements only end at the end of the month, (2) Proper notice must be given prior to end date, (3) If not, agreement
  will automatically continue on a month to month basis at a license fee based either on the automatic escalation or as otherwise
  determined by Licensor under the Agreement
  **(4) Automatic Escallations are applicable after expiration of initial term specified above or after the escallation interval
  specified above; whichever is greater.

  In witness whereof, the parties have executed this Agreement as of the day and year first above written
  Licensor: TKO 6 Corp                                               Licensee:___________________________              (Company Name)
            AKA TKO Suites

             By;____________________________                                 By:                                (Please Sign)
             Name: Isaac Esses                                               Name: ___________________________
             Title: General Manager                                          Title: _________ ,__________________
             Date:______________________                                     Date: _____________________________




                                                                                                                               Page 1 of I
                  Case 22-10609-amc                                   Doc 6-9             Filed 03/11/22 Entered 03/11/22 15:22:39                                                                        Desc
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.,1, Licensed"Space and Services. Licensor grants to Licensee a non exclusive, revocable at will, non-           waiting longer than 5 minutes, as per classification above. Failure to abide by this paragraph constitutes
  transferable license to access the space / suite # referred to above (the "Licensed Space") solely for         grounds for immediate termination of this Agreement and forfeiture of Service deposit by Licensee, as it is
  general office use in the conduct of Licensee's business, together with (i) the desk(s), file cabinet(s),      stated in paragraph 16. Waivers of this paragraph may be made by Licensor on a case by case basis, but only
  chair(s), and any other furniture located therein which licensee shall not remove without prior written        with prior written agreement from Licensor. A waiver of this paragraph by Licensor shall not constitute a
  consent, (ii) the right to use in common with others the common areas including the hallways,                  waiver of any other term of this Agreement, nor shall such waiver constitute a waiver of future meetings In
  conference rooms, reception area, bathrooms, and pantry area (iii) the amount of phone lines specified         the same month, except to the extent that the waiver explicitly states both the number of meetings Licensee
  above with unlimited calls within the continental US, and (iv) access to high-speed Internet service for       may have in excess of the Maximum Number of Meetings and the month to which the waiver applies. Any
  the amount of offices specified above via outlets supplied by licensor. Licensee agrees to use such            non-licensee which visits the office space must request licensee by either the name of the company or the
  licensed space & services in accordance with & complying with all local city, state, federal, and other        personal name on the agreement. Otherwise they wilt be turned away.
  governmental laws & regulations concerning but not limited to unsolicited email transmissions,                 7. Telephone & High-Speed Internet Service. Licensee agrees to refrain from abusing or sharing the high-speed
  unsolicited telephone calls and fax transmissions, and all other business activity. Licensee shall have no     Internet service. Licensor may bill licensee to correct any problems caused by licensee's usage which may effect other
                                                                                                                 licensees. Licensee understands that telephone & internet services is an inherently complex services with many
  real property Interest in or other rights to the office and agrees to take the office as is. Licensor agrees
                                                                                                                 points of failure and that there may be outages or periods of low voice quality or slow transfer speeds. Licensee
  that it shall not permit any other licensee of the building to use or occupy the office or any portion of it
                                                                                                                 agrees that any such failures, outages, or periods of low transfer speed shall not entitle Licensee to a reduction in its
  during the Term, unless otherwise permitted by this License. Licensee is not permitted to use or occupy
                                                                                                                 License Fee. Upon expiration of this agreement, if phone service shall continue to be provided by Licensor, Licensee
  any other workstation or office without the consent of the licensor. Licensee acknowledges that Licensor       shall continue to be responsible for such line charges as published on Licensor's web site until transfer of lines to
  has the right to access licensed space at will and show licensee's space at any time and that Licensor         licensee's new account shall be completed. Internet based phones are prohibited from use within licensed space.
  retains absolute control over the premises. Nor is the licensee permitted to use the public space as           Any problems encountered will not be supported by licensor and licensor shall not be responsible whatsoever for any
  additional storage space. Licensee shall be granted access to the main / general printer within 1 week of      damage caused by such problems; regardless of whether any changes have been made to the network by licensor.
 moving in and will be given a limit of 150 printout impressions per office / cubicle per month.                 8. Mall Service: Licensor and its agents shall handle all incoming mall for licensee. Licensee acknowledges
 2. Term. The initial term of this Agreement shall be for the period stated on the license agreement (or         that unless otherwise requested in writing, licensor & Its agents shall sign on behalf of licensee for any
subsequent renewal agreements) (the "Initial Term"). Upon expiration of the Initial Term, this                   certified mall or mail which requires such signature. Licensee agrees that any packages which may not fit in
Agreement shall continue on a month-to-month basis at the license fee specified in Section 3 herein (the         licensee's mailbox may be left in licensee's licensed space by licensor or it agents.
"Monthly Term," and together with the Initial Term, the "Term"), unless notice otherwise is given by             9. Assignment. Licensee may not assign, sublet, license or otherwise permit any other person or entity to
Licensor to Licensee, or Licensee provides proper Move Out Notice (as hereinafter defined). A Licensee           use or occupy the Licensed Space.
may only terminate a Monthly Term, or terminate this Agreement at the end of the Initial Term, by                lO. Relocatlon. Licensor may relocate Licensee to other equivalent space within the Leased Premises upon
sending Licensor a "Move Out Notice" identifying a proper termination date, as follows: (i) such date            giving Licensee ten (10) business days prior written notice. Licensee shall not incur any increase In the
must be on the last day of a calendar month, and (Ii) the minimum time until such date is as follows:            License Fee or any relocation cost / expense.
Licensee Fees Totaling:                                           Under $900 * 45 days notice                    11. Insurance. Licensee shall, upon demand by Licensor, provide Licensor with a Certificate of Insurance
                                                                  Under $1,950 - 60 days notice                  naming Licensor as an additional insured. The policy shall insure Licensee for $1,000,000 combined single
                                                                  Above $1,950 - 90 days notice                  limit for bodily injury and property damage and shall be Issued by an Insurance company licensed to do
In the event the agreement expires on a weekend or national holiday, the last day of the agreement shall         business in State of the licensed premises. In addition. Licensee Indemnifies and holds Licensor and Main
be the last business day of the month. Licensee must vacate the licensed space prior to 1:00 pm on the           Landlord harmless from any property damage or personal injury caused by Licensee, its agents, employees,
last day of the agreement, as described above. In the event the licensed space is not ready due to the           invitees or guests, including the costs of defense from any claims arising therefrom. In the event of a
previous licensee, licensor shall credit licensee for unused time of licensed space (i.e., until the previous    property loss, both Licensor and Licensee will recover from their respective insurance carriers regardless of
licensee vacates) and licensor shall not be held responsible for any other damages. Licensee                     which party was at fault, and each party agrees that it will not seek to recover damages against the other or
acknowledges that this may happen from time to time and is not in the hands of licensor. A previous              against the other's insurance carrier, and the Insurance carriers shall have no right of subrogation.
licensee Is deemed to have vacated when (1) of all such licensee's property has been removed from the            12. Alterations. Licensee may not make any changes, alterations, or improvements to the Licensed Space,
Licensed Space, and (2) such licensee's office keys have been returned to licensor. In the event licensee        the Leased Premises or the Building without prior written consent of licensor. Should any changes be made
moved in prior to the start date listed on the agreement, licensee shall pay the additional pro-rated fee        with licensors approval, licensee shall bring office back to its original condition prior to vacating unless
for each day additional day which licensee moved in early.                                                       otherwise stated by licensor, (i.e. painted back to original color, patching of any holes from brackets
3. License Fee. Licensee shall pay to Licensor each month of the Initial Term in the amount stated above         installed, etc, etc). Should any changes & alterations be made with licensors approval, licensor may request
(the "License Fee"). Prior to or upon execution of this Agreement Licensee shall pay the balance of the          an increase in service deposit by licensee should the cost to bring the office back to the original conditiori
initial deposit of the License Fee for the first month and the service deposit agreed to. Failure by licensee    exceed the cost of 1 month license fee. The cost to bring the licensed space back to original condition shall
to pay such balance prior to the start date will (1) delay move in at licensee expense and (ii) may result in    be determined by licensor.
Licensee's default of this agreement. The Ucense Fee shall be payable on the first day of each month             13. Utilities. Licensee acknowledges that the Licensed Space is designed to provide standard office use and
thereafter for the duration of the Term without any notice, of^et, demand or deduction. Licensor                 lighting. Licensee shall not use any devices that utilize excessive electrical energy which may, in the opinion
reserves the right to refuse any payment method other than standard business checks. IT IS EXPRESSLY             of Licensor, overload or interfere with electrical service to other occupants of the Leased Premises or the
UNDERSTOOD THAT ANY PAYMENTS MADE UNDER THIS ANO ALL SUBSEQUENT AGREEMENTS IN THE                                Building or violate any law, ordinance or rule or regulation of any utility company or governmental agency or
FORM OF CREDIT OR DEBIT CARDS SHALL BE CHARGED A 3.5% CONVENIENCE FEE. Upon expiration of                        authority. Licensee acknowledges that electrical power fluctuates during normal usage and agrees that It
the Initial Term, and if this Agreement has not been properly terminated, the License Fee shall                  shall supply its own surge protectors and any other necessary equipment for protection of its equipment
automatically increase by the percentages St time intervals listed on the License Agreement under                against spikes or dips in electrical power. Licensee agrees that Licensor is not responsible for any damage to
'Automatic Escalations,’ unless Licensor increases the fee as provided herein or the parties reach a new         equipment suffered as a result of normal or abnormal electrical conditions.
license agreement. If the Initial Term is longer than 1 year, then additional increases may be specified on      13,1, Heat / Air Conditioning. Licensor will supply the office with functional heat & air conditioning when
the License Agreement under Additional Notes. The License Fee shall be prorated only for the first month         required by law, during normal business hours (9am to 5pm).
of the Initial Term. The License Fee after the Initial Term shall not be prorated at all. Licensee Is            14.Late Charge & Returned Check Fee. In the event that any payment required to be made by Licensee is
encouraged to secure a new license agreement with Licensor for the period after the Initial Term (the            not made within two (2) business day after the due date. Licensee shall pay a late charge of ten percent
"New Agreement"). If the parties do not enter into the New Agreement, then Licensor, in its sole and             (10%) of the overdue amount plus fifty ($50) dollars as a service charge for handling late payments. The late
absolute discretion, may increase the License Fee for any period after the Initial Term by as much as 30%        charge is in addition to other remedies available to Licensor provided elsewhere in this Agreement upon a
of the License Fee then in effect (the "New Fee"). The New Fee shall be effective seven (7) days after           default by Licensee and shall be due whether or not notice or statement is provided by Licensor. A Fifty
Licensor provides notice of such increase (and can take effect as early as the day after the Initial Term        Dollar ($50) charge will be payable by Licensee for any bounced or returned check.
expires). The New Fee shall remain in effect until the sooner of (i) the execution of a New Agreement            15.Service Deposit Upon the execution of this Agreement Licensee shall deposit with Licensor a Service
and (ii) if Licensee elects to terminate the Agreement, then the earliest termination date that could be         Deposit in the amount specified above for the faithful performance by Licensee of the terms and provisions
set by proper Move Out Notice. The New Fee is subject to additional automatic increases or New Fee               of this Agreement. SERVICE DEPOSITS MAY NOT BE USED TOWARDS THE LAST MONTH'S LICENSE FEE.
increases.                                                                                                       Failure to pay last month's licensee fee In full will result in defaulting under this agreement and the
4. Use. Employment & training agencies which interview potential clients within the office space &               complete forfeiture of service deposit and licensee shall still be liable for the last month's Licensee Fee. In
charge application fees on site are strictly prohibited. If discovered that licensee is in fact performing       such event, no notice shall be required by Licensor. Notwithstanding the above, In the event Licensee
such practices, licensee shall be in default as per default paragraph below. An interview shall be defined       defaults in the performance of any of the terms and provisions of this Agreement, Licensor may use, retain
as having a meeting and providing an application form or questionnaire for someone to fill out.                  or apply the whole or any part of the service so deposited to the extent required for the payment of any
5. Setup Fees. Licensor and Licensee acknowledge that Licensor incurred $995 in preparing the Licensed           sums as to which Licensee is in default or for any sum which Licensor may expend by reason of Licensee's
Space and other services for Licensee ("Setup Fees"). Licensor and Licensee further acknowledge that             default. If Licensor uses, retains or applies any part of the security so deposited. Licensee, within three (3)
Licensor incurred a placement fee in the amount equal to 10% of all License Fees due during the first 12         days after receipt of notice from Licensor, shall deposit with Licensor the amount so used, retained or
months of Licensee's use of the Licensed Space (regardless whether such use is longer or shorter)                applied so that Licensor shall have the full security on hand al all times during the Term. In the event license
("Licensor's Placement Fee"). Licensor agrees to waive the Setup Fees and Licensor's Placement Fee as            fee payment made by licensee is not made within the given time frame described In paragraph 14 above on
a courtesy to Licensee; provided, however, that if Licensee breaches any provision of this agreement, or         more than one (1) occasion, licensor may request additional service deposit to be paid by licensee. In the
if an Event of Default (as defined in section 18 herein) occurs, then such Setup Fees and Licensor's             event that Licensee shall fully and faithfully comply with all of the terms and provisions of this Agreement,
Placement Fee shall automatically be reinstated and become immediately due and payable by Licensee.              the security (minus any outstanding charges) shall be returned via mail to the address provided by licensee
The Setup Fees and Licensor's Placement Fee shall be in addition to, and not instead of, any damages             to Licensee after the end of the Term and delivery of the Licensed Space to Licensor. In the event Licensor
available under Section 18. This provision applies regardless of whether Licensee's breach or Event of           should transfer its interest in the Main Lease, Licensor shall have the right to transfer the security to the
Default occurs during the initial Term or Monthly Term.                                                          transferee and Licensor shall thereupon be released by Licensee from all liability for the return of the
6. Limited Meetings. Licensee warrants to Licensor that, in any given month, it will hold no more than           security, and Licensee agrees to look to the transferee for the return of the security. Licensee further
six (6) non-licensee meetings in the conference room; five (5) meetings if licensee occupies a cubicle;          covenants that it will not assign or encumber or attempt to assign or encumber the monies deposited herein
and, if licensed space is enclosed office no more than 15 meetings with non-licensees within Licensee’s          as security. From time to time Licensor may request that Licensee increase its Service deposit in order to
licensed space. Any additional time shall be charged at standard conference room rates published on              match the then-current License Fee. Upon a request. Licensee shall deposit with Licensor the amount of
licensor's website. A meeting is classified as a maximum period of no longer than one (1) hour. Any              money required to make the Service deposit equal to the License Fee within five (5) business days.
meeting that last for any time period longer than one (1) hour shall be classified as another meeting.           16.Non-solicitation. Licensee agrees that for a period of twelve (12) months after vacating its Licensed
Furthermore, Licensee may not use conference room longer than 90 minute consecutive intervals. Any               Space or otherwise terminating this Agreement, Licensee shall refrain from sharing office space within the
overlay, must be requested and would be considered as an additional meeting at billable rates. An                same County of the premises with ocher licensees of Licensor's services. This clause shall survive termination
Unlicensed Person is defined as (a) a person who does not have a license from Licensor to use the Leased         of this Agreement and remain in effect for twelve (12) months thereafter.
Premises or (b) a person who is not a direct and current employee of Licensee If Licensee is an                  17.SjgnSi Licensee shall not place or allow any signs to be placed on the Licensed Space, the Leased Premises
organization. Licensee is to provide a list of all employees within the licensed space. Within the limfe
above, licensee shall ensure that any non-licensee will not wait in periods over 5 minutes in the shar ;d          .
waiting room area. Any time above, shall be classified as an additional meeting for each non-licens !e,
                                                                                                                                                                                                                      Page 1 of2
Llpdated_101518                                                                               Initials
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.Ig.DefaOit.Ta) It shall be an Event of Default hereunder if (i) Licensee fails to pay the License Fee or make         26 .Damage. Licensor shall not be liable for, and Licensee waives all right of recovery against Licensor for,
 any other payment hereunder within three (3) days after such payment becomes due; (ii) if Licensee is                 any damage or claim with respect to any injury to person or damage to or loss or destruction of any property
 late in paying the License Fee more than twice within any 12 month period; (iii) Licensee defaults under              of Licensee due to any act, omission or occurrence in or about the Leased Premises or the Building. Without
 any other provision of this Agreement and fails to cure such default within seven (7) days after written or           limitation of any other provision hereof, Licensee agrees to indemnify, defend, protect and save Licensor
 emailed notice of such default is sent to Licensee by Licensor; (iv) Licensee abandons, vacates or deserts            harmless from and against all liability to third parties arising out of Licensee's use and occupancy of the
 the Licensed Space prior to the termination of this Agreement (as per section 27); or (v) Licensee                    Licensed Space or actions or omissions of Licensee, its guests and invitees. Licensee further agrees that all
 conducts business which Is illegal in accordance with local city, state, or federal laws, rules or regulations,       property of Licensee within or about the Licensed Space, the Leased Premises or the Building shall be at the
 (b) Upon an Event of Default, Licensor may exercise any and all rights and remedies available at law or               sole risk of Licensee.
 equity including, without limitation, sending a notice immediately terminating this Agreement, by either              27 , Limitation of Liability. Licensee acknowledges that neither center, nor landlord, or any affiliates, shall be
 email or in writing. This Agreement shall immediately terminate upon the sending of such notice,                      responsible from the failure of center to furnish any service, including but not limited to the services of
 without Licensor being liable for such termination or for damages of any sorts, (c) Upon any termination              conveying messages, communications, phone or internet service, or utilities services. Client's sole remedy
 of this Agreement, including without limitation, by lapse of time. Licensor's revocation or Licensor's                and center's sole obligation for any failure to render any service or delay or interruptions in any service shall
 election to terminate this Agreement due to an Event of Default: (i) Licensor, without any notice, may                be limited to the adjustment to client's bill In an amount equal to the charge for such specific service billed
 terminate the phone, internet, electrical service, mall handling, and other services being provided to                for, for the period during which the failure, delay, or interruption occurred. WITH THE SOLE EXCEPTION
 Licensee; (ii) Licensor may immediately use peaceful self-help to re-enter and recover possession of the              OF THE REMEDY DESCRIVED ABOVE. CLIENT EXPRESSLY AND SPECIFICALLY AGREES TO WAIVE.
                                                                                                                       AND AGREES NOT TO MAKE. ANY CLAIM FOR DAMAGE. DIRECT OR CONSEQUENTIAL. INCLUDING
 Licensed Space and take possession thereof (by whatever means necessary) and that Licensor shall not
                                                                                                                       WITH RESPECT TO LOST BUSINESS OF PROFITS. ARISING OUT OF ANY FAILURE TO FURNISH ANY
 be required to seek a court order or to provide due process, before removing Licensee or any of its                   SERVICE. AN ERROR. OR OMMISSION WITH RESPECT THERETO. In the event client is not locked into a
 possessions or property from the Licensed Space; (iii) Licensor may permit others to use the Licensed                 long term contract and the minimum notice requirements as per the Term Paragraph are in effect (meaning
Space and deny Licensee access to such space without releasing Licensee from any of its obligations                    client may leave at any time with sufficient notice requirement), then CLIENT EXPRESSLY AGREES THAT
hereunder; and (iv) any other remedies available to Licensor at law or equity. Licensee shall thereafter               IN NO EVENT WILL CLIENT MAKE ANY CLAIM WITH REGARD TO BREACH OF CONTRACT TO
have no further right to use the Licensed Space and all rights to services hereunder shall end and                     VACATE OFFICE PRIOR TO THE TERMINATION DATE IN ACCORDANCE WITH THE TERM
Licensee shall thereafter make no further use of the Licensed Space other than for the purpose of                      SECTION ABOVE. Client further agrees that any such attempt made with the failure to make final months’
promptly removing any property located therein belonging to Licensee, (d) The Licensor and Licensee                    payment will result in the forfeiture of the security deposit as described in the Security Deposit clause above.
agree that quantifying the actual damages arising from a termination of this Agreement for an Event of                 27.Abandonment/ Abandoned Property. Should licensee abandon property or the Licensed Space, Licensor
Default is inherently difficult insofar as, among other things, Licensor may have to locate a replacement              has the right to take back possession of the Licensed Space immediately and shall be entitled to grant the
occupant in a compressed timeframe, thereby impacting Licensor’s ability to charge the market rate, and                use of the licensed space to a new licensee. Licensee shall be deemed to have abandoned property or the
Licensor may incur various fees such as for brokers, new setup fees, service fees, legal fees and other                Licensed Space if: (1) no payments were made within a 50 day period, and at the expiration of such period
administrative fees. The Licensor and Licensee accordingly agree that, upon the termination of this                    there should be a balance due to licensor; or (2) licensee returns the key to the Licensed Space; or (3)
Agreement for an Event of Default, Licensee shall be liable and pay as liquidated damages, the greater of              Licensee removes substantially all of its property from the Licensed Space {regardless of whether the keys
(x) the unrealized License Fees due over the remaining Term of this Agreement, or (y) an amount equal to               are returned); or {4) Licensee fails to make initial move in payment as per section 3 of the terms. Re­
two (2) times the monthly License Fee then in effect; plus any attorneys' fees (as provided in section 29              licensing space by licensor shall not, by any means, forgive licensee from whatever fees which shall be due
herein) and Setup Fees and Licensor's Placement Fee (as provided In section 5 herein). These damages                   over the remaining Term of the agreement nor shall any notice be required by licensor to re-license the
are available regardless of whether the default occurred during the Initial Term or any Monthly Term.                  space in such events. Any equipment or other property of Licensee after such abandonment or at the
Licensee acknowledges that these liquidated damages are a fair and reasonable estimate of the damage                   expiration or earlier termination of the agreement shall be considered abandoned and Licensor shall have
that Licensor will incur, and not a penalty. If a Court finds that such liquidated damages are                         the right, without notice, to dispose of the same in any manner at Licensee's expense and shall not be
unenforceable, Licensee shall be responsible for all damages and costs available at law or equity and as               accountable to Licensee therefore.
provided in this agreement, Including without limitation, attorneys' fees, set up fees, broker fees (for               28 .Rules and Regulations. Licensee agrees to abide by the Center's Rules and such reasonable rules and
both the Licensee and the replacement occupant), service fees and other administrative fees, (e) For                   regulations as may be adopted by Licensor. Center's Rules shall include all fees for services offered by the
each month or portion thereof that Licensee occupies the Licensed Space (or any other space or services                Licensor excluding the monthly Licensee Fee. Licensee may request a copy of the Center's Rules at any time.
provided or belonging to the Licensor) after the termination of this Agreement, whether by lapse of time,              The Center's Rules of the space are required to maintain a safe office environment and thus may change
an Event of Default, or Licensor's revocation, and without the written consent of Licensor, Licensee shall             from time to time
pay Licensor, as liquidated damages, an amount equal to three (3) times the License Fee, plus any                      28.1. General Consideration / Acknowledgement. It is agreed that in order to have a conductive work
attorneys' fees, If any, as provided in section 29 herein; provided, however, that if this Agreement was               environment to both, the licensor and licensee, the licensee shall maintain a standard level of respect to
terminated due to an Event of Default, then Licensee shall pay as liquidated damages for its continued                 other licensees within the office space. In the event that the licensor receives 3 or more complaints from
occupation of the Licensed Space an amount equal to two (2) times the License Fee until the date on                    other licensees within the office environment, the licensee shall be in default of the agreement.
which this Agreement would have terminated had there not been an Event of Default, and then three (3)                  29.Attornevs' Fees; Arbitration Fees; Other Costs. If a litigation or arbitration arises out of or in connection
times the License Fee for such period of time thereafter. Failure of Licensee to remove its property from              with this Agreement, and If Licensor is the prevailing party in any such litigation or arbitration, then Licensee
the Licensed Premises shall be deemed to be occupation thereof. Licensee agrees that these liquidated                  shall pay all expenses incurred by Licensor, including without limitation. Licensor's actual attorneys' fees
damages are a fair and reasonable estimate of the damage that Licensor will incur, and not a penalty.                  (including those fees incurred attempting to collect any award), administrative fees, and the fees charged by
Any payments made by Licensee upon termination of this Agreement may be applied to such liquidated                     NAM for the arbitration. Licensor shall be deemed the prevailing party if (a) it asserted that Licensee
damages and in no way indicate that Licensee has right to use space, regardless of whether Licensor has                breached this Agreement, and the court or arbitrator determines a breach has occurred (regardless of the
deposited payments received, (f) Any credits, free services, or other incentives provided to licensee as an         remedy. If any, imposed); or (b) Licensee asserted that Licensor breached this Agreement, and the court or
inducement for licensee to sign this agreement with licensor shall be reversed and payable immediately              arbitrator determined such a breach has not occurred. If an arbitration is held and the Licensor is not the
in the event of default. If the value for (free or discounted) services provided is not listed on this              prevailing party, then the parties agree to each pay fifty-percent of the fees charged by NAM.
agreement, such fees will be indicated within the House Rules & Fees and available to licensee at any               30. Governing Law; Venue; Arbitration. This Agrei                    be governed and interpreted by the Laws of the State of
time. Such fees shall be payable in addition to the other fees & liquidated damages, mentioned above.               which the premises are located, without regard to its conflicts of laws rules. Licensee agrees that any dispute
19 .       Revocation at Will; This license is not intended to create a lease or any other interest in real         between the parties hereto, relating to or arising out of this Agreement, shall be submitted to arbitration at the
                                                                                                                    Licensor's sole election as an "Arbitration based on Written Submissions" before National Arbitration and Mediation
property in favor of licensee, but merely creates a license revocable at will by licensor. Licensor retains
                                                                                                                    (NAM) tn accordance with its rules for such arbitrations. Licensor's election to arbitrate may be made at any time
the right to revoke licensed space at any given time. In the event Licensor uses such rights during the
                                                                                                                    prior to Licensor commencing an action in court, or, if an action is commenced by Licensee, at any time prior to
Initial Term, and when Licensee is not in default as per the conditions herein, Licensor shall compensate
                                                                                                                    Licensor's last day to answer or otherwise respond to a summons and/or complaint. Should any claim proceed as an
Licensee for 15% of unrealized License Fees over the remaining Term of the Agreement. No such                       action in court, the venue shall be the County of which the premises are located. You agree that any summons and
payment is due from Licensor if it exercises these rights during any Monthly Term. If Licensee is not in            complaint or other process to commence any litigation by us may be properly served if mailed by certified mail to
default of this Agreement, Licensee may cancel this Agreement during the Initial Term and compensate                your address as set forth herein (or any other address you provide to us in writing for such purpose).
Licensor for 50% of unrealized License Fees due over the remaining Initial Term with minimum notice                 31. Severability. If any provision of this Agreement or the application thereof shall, for any reason and to any extent,
requirements described in paragraph 2, with no additional liability.                                                be invalid or unenforceable, neither the remainder of this Agreement nor the application of the provision to other
20 . Maintenance and Repair. Licensee shall maintain the Licensed Space in a good, clean and safe                   persons, entities or circumstances shall be affected thereby, but instead shall be enforced to the maximum extent
condition and shall on the expiration or earlier termination of the Term, and surrender the Licensed                permitted.
Space in good condition and repair. Licensee at its expense shall repair all damage, injury or deterioration        32. Binding Effect. The covenants, obligations and conditions herein contained shall be binding on and inure to the
to the Licensed Space due to Licensee's lack of ordinary care or changes to license space (i.e. hanging             benefit of the heirs, legal representatives, successors and permitted assigns of the parties hereto.
                                                                                                                    33. Non-Walver. All waivers must be in writing and signed by the waiving party. Licensor's failure to enforce any
pictures, painting, etc).
                                                                                                                    provision of this Agreement or its acceptance of any payments shall not be a waiver and shall not prevent Licensor
21 .       Subordination. This Agreement is subject and subordinate to the Main Lease and to any mortgages now or
hereafter affecting the Building. Licensee agrees to observe the terms of the Main Lease insofar as they affect the from enforcing any provision of this Agreement in the future. No receipt of money by Licensor shall be deemed to
                                                                                                                    waive any default by Licensee or to extend, reinstate or continue the Term.
Licensed Space and to execute any further instruments which Main Landlord or any mortgagee may deem
necessary or desirable to effect the subordination of this Agreement to the Main tease or any mortgage. This        34.    Miscellaneous. Notwithstanding anything to the contrary herein contained, it is expressly agreed and understood
                                                                                                                    as follows: (i) this agreement is a license and not a lease, (ii) this License can be terminated by and is revocable at will,
Agreement shall automatically terminate upon any termination of the Main Lease and Licensee shall vacate the
                                                                                                                    by licensor as per terms described hereto, (iii) Licensee does not have any exclusive possessory right or interest in the
Licensed Premises.
                                                                                                                    office, (iv) this License is non-transferable by licensee, (v) the licensee has limited access to the office, (vi) the license
22 . No Interest In Real Property. This Agreement is not intended to create any interest in real property or any
leasehold estate in favor of Licensee, but merely creates a non-excluslve license, revocable at will, in accordance fee reflects consideration for a license and not a lease, (vii) Licensor has the right to deny licensee access to the office,
                                                                                                                    enter the office and exercise seif help remedies without court approval in enforcing its rights where Licensor has (a)
with the terms hereof, and Licensee waives any notice to quit, notice to vacate, notice of intent or similar notice
that would otherwise be required by law if any interest in real property were created by this Agreement. The        revoked the License and the Term has been terminated early, or (b) Licensee is in default and the Term has been
                                                                                                                    terminated early, and (c) as otherwise may be provided herein, and (viii) Licensee specifically covenants and agrees,
parties agree that there exists no landlord/tenant relationship between the parties hereto and agree that any
dispute shall not be brought to NYC housing court.                                                                  for Licensor's benefit, and as material condition to this agreement that; (a) neither this license nor any of Licensee's
                                                                                                                    rights in connection herewith shall constitute a lease, whether of the office or otherwise; (b) Licensee shall not bring
23 .Notices. The following notices shall be deemed sufficiently given by Licensor to Licensee: notice given
                                                                                                                    any action against Licensor or interpose an defense against Licensor based upon the theory that this License
(1) by registered or certified mall, return receipt requested or by nationally recognized overnight courier,
                                                                                                                    constitute a lease; and (c) Licensee expressly waives any substantive or procedural rights that licensee may have that
addressed to the parties at the Building, (2) email, or (3) In writing, delivered to Licensee at the office.
                                                                                                                    are predicated upon the rights of a tenant of real property.
Each party may designate in writing any other address to which such party's notice is to be sent. Any
                                                                                                                    35. Guaranty: In order to Induce Licensor to enter into this agreement and in consideration of licensor's
notice given by licensee to Licensor must (1) be given in writing and (2) must be sent by certified mail,           entering into this agreement,               SCOtt P SCUngiO                         shall hereby personally guaranty to
return receipt requested, and (3) addressed to the attention of the manger listed on agreement.
                                                                                                                    Licensor and it's successors and assigns the full and faithful keeping, performance and observance of all the
24 .No Broker. Licensee represents that licensee has dealt with no broker in connection with the licensing
                                                                                                                    covenants, agreements, terms, provisions ^d'’t?cfrtdfti’ons of this license agreement provided to be kept,
of the offices provided above.
                                                                                                                    performed and observed by Licensee.                                       _______ (please sign)
25 .Credit Check. Licensee hereby authorizes Licensor, from time to time, to perform a credit check on , Qg                                                             '•--- JMWf»MWCHPO -
the applicant and any principals of the applicant.


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